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 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 MICHAEL M. BECKWITH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                  CASE NO. 2:12-CR-0294-TLN
11
                                Plaintiff,      ORDER REGARDING RESTITUTION
12
                           v.
13
     GREGORY SCOTT BAKER,
14
                                Defendant.
15

16

17         Upon application of the parties, and pursuant to their stipulation, IT IS ORDERED

18 that the judgment in case number 2:12-CR-0294-TLN be amended to reflect the following

19 information regarding restitution:

20         1. The defendant, Gregory Scott Baker, shall pay $509,296 in restitution to the

21             U.S. Department of Treasury, Internal Revenue Service (“IRS”).

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      UNITED STATES V. BAKER                     1
30    PROPOSED ORDER
            Case 2:12-cr-00294-TLN Document 205 Filed 08/09/16 Page 2 of 2

 1        2. Restitution payments shall be made to Department of Treasury, Internal

 2            Revenue Service, located at 333 West Pershing Road, Kansas City, Missouri

 3            64108 (ATTN: MS 6261 “Restitution”).

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 5 Dated: August 8, 2016

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                                                   Troy L. Nunley
 8                                                 United States District Judge
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     UNITED STATES V. BAKER                    2
30   PROPOSED ORDER
